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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         Peer Street, Inc., et al.,1                                      Case No. 23-10815 (___)

                                               Debtors.
                                                                          (Joint Administration Requested)



                               DECLARATION OF DAVID M. DUNN IN SUPPORT
                           OF THE CHAPTER 11 FILING AND FIRST DAY PLEADINGS

                             I, David M. Dunn, hereby submit this declaration (the “Declaration”) under

         penalty of perjury that the following is true to the best of my knowledge and belief:

                             1.       I am the Chief Restructuring Officer of Peer Street, Inc., a Delaware

         corporation (“PSI” and, together with the above-captioned affiliates as debtors and debtors in

         possession “Peer Street” or the “Debtors”).                       I am also a Principal of Province, LLC

         (“Province”), a nationally recognized financial advisory firm focusing on restructurings, growth

         opportunities, and fiduciary-related services.

                             2.       Based on my work with the Debtors, my oversight of the work that

         Province has performed for the Debtors, my review of relevant documents, and my discussions

         with members of the Company’s management team, I am generally familiar with the Debtors’

         day-to-day operations, business, and financial affairs.




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               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC
               (2415); PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite
               340, Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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                         3.     Except as otherwise indicated, all facts herein are based upon my personal

         knowledge, my discussions with other members of the Debtors’ management team, board of

         directors, and representatives of Province and other of the Debtors’ advisors (including legal

         counsel), my review of relevant documents and information concerning Peer Street’s operations,

         financial affairs, restructuring efforts, or my personal experience and knowledge.

                         4.     I am a seasoned corporate restructuring professional with over twenty (20)

         years of experience in high-profile board, buyside, and advisory roles. My background includes

         large and complex financial restructurings, operational transformations, mergers and

         acquisitions, interim management, distressed financings, and litigation-orientated investments.

                         5.     Over the course of my twenty-year career, I have served as a chief

         restructuring officer, financial advisor to debtors, advisor to or member of boards of directors,

         litigation and liquidation trustee, and plan administrator. Before joining Province, I executed

         principal investments in distressed debt and equity instruments across a diverse range of

         industries, first at Arrowgrass Capital Partners and then at Cross Sound Management, a corporate

         distressed investment firm that I co-founded. I began my career practicing law within the

         financial restructuring departments of Sidley Austin LLP and then Akin Gump Strauss Hauer &

         Feld LLP.

                         6.     My experience includes global engagements across a broad range of

         industries, including power, upstream E&P, E&P services, metals and mining, monoline and

         mortgage insurance, media, gaming, and retail.

                         7.     I am over the age of 18 and am authorized by the Debtors to submit this

         Declaration. If called upon as a witness, I would testify competently to the facts set forth in this

         Declaration.


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                          8.       On the date hereof (the “Petition Date”), each of the Debtors filed

         petitions for relief under chapter 11 of title 11 of the United Sates Code, §§ 101, et seq. (the

         “Bankruptcy Code”), in the United States Bankruptcy Court for the District of Delaware (the

         “Court”).

                          9.       I submit this Declaration to provide an overview of the Debtors’ business

         and the Chapter 11 Cases and support for the Debtors’ “first-day” motions (collectively, the

         “First Day Motions”). To familiarize the Court with the Debtor and the relief sought in the First

         Day Motions filed in this chapter 11 case, this Declaration is organized into four parts as follows:

                                (a) Part I provides background on the Debtors, their history, corporate
                                    structure, and business operations;

                                (b) Part II provides an overview of the Debtors’ prepetition capital structure;

                                (c) Part III provides a description of the circumstances leading to the
                                    commencement of these Chapter 11 Cases, including a description of the
                                    Debtors’ prepetition restructuring efforts; and

                                (d) Part IV provides an overview of the First Day Motions.

              I.     THE DEBTORS’ BUSINESS

                          10.      Founded in 2013, Peer Street is a platform for online investing in real-

         estate debt. Peer Street’s headquarters are located in El Segundo, California. Peer Street enables

         accredited investors, funds, and institutions to access certain real estate-related debt investments

         that were historically difficult to invest in, and permits lenders and borrowers to access capital

         that has been historically difficult for them to access.

                          11.      Peer Street introduced the first and largest two-sided online marketplace

         for investing in and funding real estate debt. On one side of the marketplace, Peer Street

         provides individual investors with access to an alternative asset class that was previously



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         difficult to access, while on the other side of the marketplace, it provides capital to real estate

         lending businesses and their borrowers.

                         12.   Peer Street sources loans from a nationwide network of private lenders

         and brokers (covering over forty-five (45) states). These loans are either (i) offered for sale to

         institutional investors, and/or (ii) posted on Peer Street’s online investing platform located at

         www.peerstreet.com (the “Peer Street Platform”), where investors may browse and select from

         investments offering different yields, terms, and loan-to-value (“LTV”) ratios, across either

         residential or multifamily properties that are non-owner occupied, and elect to invest in various

         real estate-related debt investments through the Peer Street Platform. The Peer Street Platform

         provides multiple data points for investors to analyze in a streamlined manner.       Additionally,

         Peer Street acts as master servicer and manages loans on behalf of individual and institutional

         investors.

                         13.   Peer Street determines whether to list an investment opportunity on the

         Peer Street Platform based on its evaluation of the features and risk factors associated with the

         investment, including, but not limited to, the lenders, borrowers or other key persons sponsoring

         such investment. Peer Street may, in some cases, structure proprietary investment vehicles that

         pool underlying investments. In other cases, real estate securities offered through the Peer Street

         Platform will track a single underlying investment.

                         14.   Peer Street offers three (3) principal investment products through the Peer

         Street Platform: (i) Fractional Notes; (ii) Pocket; and (iii) Portfolio (as defined herein).    In

         addition, Peer Street offers another investment product, OppFund (as defined herein), separately

         from its online platform.




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                         15.   Fractional Notes.     In the ordinary course of business, a Peer Street

         affiliate, PS Funding, Inc., a Delaware corporation (“PSFI”) originates loans itself through a

         network of lenders and brokers by (i) purchasing loans or participations in loans originated by

         the third-party lenders and brokers, (ii) table funding loans on behalf of the third-party lenders

         and brokers, or (iii) funding loans directly to borrowers sourced through the third party lenders

         and brokers (the “Underlying Loans”).

                         16.   Thereafter, another Peer Street affiliate, Peer Street Funding LLC, a

         Delaware limited liability company (“PSFLLC”), offers investors the opportunity to purchase

         unsecured mortgage payment dependent notes (“MPDNs”) through the Peer Street Platform.

         PSFLLC then uses those investor funds to purchase participation interests in certain of the

         Underlying Loans. Holders of MDPNs are entitled to payments equal to fractional interests in

         the net principal and interest payments collected on the Underlying Loans funded with their

         investments, net of expenses.

                         17.   To be more specific, once sufficient MDPNs have been purchased,

         PSFLLC transfers funds sufficient to PSFI in return for a 100% participation interest in a

         specified Underlying Loan, entitling PSFLLC to all payments of principal and interest (net of

         fees, expenses, charges, and other amounts) collected on the Underlying Loan. Under the terms

         of the participation agreement, PSFI performs the functions of the lender on the Underlying

         Loan, among other things, collecting payments (through a subservicer), making distributions,

         and enforcing the Lender’s rights and remedies. The MPDNs are limited obligations of PSFLLC

         that entitle holders to payment of principal and interest from PSFLLC only to the extent that

         PSFLLC has received payments of principal and interest on the Underlying Loan from PSFI.




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                           18.     On the Petition Date, approximately $205.0 million in MPDNs were

         outstanding. These notes are associated with approximately $220.2 million in face amount of

         Underlying Loans. Approximately $92.4 million of these loans were performing as of the

         Petition Date.2 PSFI also holds cash of approximately $18.5 million. In addition, another Peer

         Street affiliate, PSF REO LLC holds $1.2 million in cash and parcels of real estate that had

         previously secured approximately $37.1 million in Underlying Loans on the retail platform that

         have been foreclosed.

                           19.     Pocket.      PSFLLC is also party to a warehouse loan agreement

         (the “Pocket 1-Month Warehouse Loan Agreement”) with PS Warehouse, LLC, a Delaware

         limited liability company (“Warehouse”), a wholly-owned subsidiary of PSFI.                      Under the

         Pocket Warehouse Loan Agreement, PSFLLC advances funds to Warehouse. Warehouse, in

         turn, advances those funds as needed to PSFI to allow PSFI to close loans PSFI originates or

         purchases (the “Pocket Underlying Loans”). In return, PSFI grants Warehouse a participation

         interest (the “Warehouse Participation Interests”) in the Pocket Underlying Loans.

         Warehouse has pledged the Warehouse Participation Interests to PSFLLC to secure the amounts

         PSFLLC advanced to it under the Pocket 1-Month Warehouse Loan Agreement. In addition,

         PSFI has provided PSFLLC with a guarantee of Warehouse’s obligations under the Pocket 1-

         Month Warehouse Loan Agreement. To secure its obligations under the guarantee, PSFI also

         pledged to PSFLLC (i) the mortgage loans underlying the participations granted to Warehouse,

         and (ii) its membership interest in Warehouse.

                           20.     To fund the amounts it delivers to Warehouse under the Pocket 1-Month

         Warehouse Loan Agreement, PSFLLC sells unsecured redeemable warehouse notes

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               Loans are considered non-performing after thirty (30) days of delinquency. The $92.4 million performing
               Underlying Loans translates to 42% of the total $220.2 million face amount of the Underlying Loans.
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         (the “RWNs”) to participating investors on the Peer Street Platform (“Pocket 1-Month”).

         Holders of the RWNs are entitled to interest in an amount equal to their pro rata share of the

         interest earned by PSFLLC under the Pocket 1-Month Warehouse Loan Agreement. Interest that

         accrues on the RWNs is not paid in cash but is instead capitalized into the outstanding principal

         amount of the RWNs. No cash payments are made on account of the RWNs unless (a) the

         maturity date (i.e., December 31, 2029) occurs, or (b) an earlier timely redemption request is

         made by the holder of an RWN, in which case payments may be made on the first day of the

         month following the end of the redemption period. The RWNs are limited obligations of

         PSFLLC. Holders of the RWNs are entitled to payment of principal and interest from PSFLLC

         only to the extent that PSFLLC has received payments of principal and interest from Warehouse

         under the terms of the Pocket 1-Month Warehouse Loan Agreement.

                         21.   In late 2022, the Debtors launched a second “Pocket” product, Pocket 3-

         Month. This product differs from the Pocket 1-Month product only in that redemptions may be

         made every quarter, rather than every month. It is otherwise structured with a separate, but

         parallel, (i) warehouse loan agreement (the “Pocket 3-Month Warehouse Loan Agreement”

         and, together with the Pocket 1-Month Warehouse Loan Agreement, the “Pocket Warehouse

         Loan Agreements”) between PSFLLC and PS Warehouse II, LLC, a Delaware limited liability

         company (“Warehouse II”), and (ii) participation agreement between PSFI and Warehouse II.

                         22.   On January 31, 2023, PSFLLC exercised a “Liquidation Trigger” based on

         its good faith determination to halt redemptions to allow for an orderly liquidation of the Pocket

         Warehouse Loan Agreements. Following the Liquidation Trigger, Warehouse and Warehouse II

         may not use proceeds of the Pocket Warehouse Loan Agreements to fund additional loans or

         purchase any additional Pocket Warehouse Participation Interests.


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                         23.   On the Petition Date, approximately $41.4 million in RWNs were

         outstanding. On the Petition Date, Warehouse held (i) cash associated with Pocket 1-Month

         investments totaling $37.1 million; and (ii) participations in Pocket Underlying Loans and other

         related assets with a face value of approximately $393,000, title to which was held by PSFI. On

         the same date, Warehouse II held cash totaling $1.3 million.

                         24.   Portfolio. PS Portfolio – ST1, LLC, a Delaware limited liability company

         (“Portfolio”), managed by its sole member, PSFI, issues payment dependent promissory notes

         (“PDNs”) to participating investors on the Peer Street Platform. Portfolio uses the net proceeds

         from the issuance of PDNs to purchase mortgage loans and participations in mortgage loans from

         PSFI (collectively, the “Portfolio Underlying Assets”) that meet specified credit guidelines.

         PSFI services the Portfolio Underlying Assets in return for a standard fee.

                         25.   The PDNs are unsecured, special, limited obligations of Portfolio.

         Holders of the PDNs are entitled to receive monthly interest payments equal to their pro rata

         portion of any interest payments actually received by Portfolio in respect of its portfolio of

         Portfolio Underlying Assets during the preceding month, less PSFI’s standard fee and other fees,

         costs and expenses incurred by Portfolio for services in respect of the underlying loans and

         participations. Portfolio is obligated to make principal and interest payments on the PDNs only

         to the extent that it has received payments on the underlying mortgage loans and participations in

         excess of PSFI’s standard fee and other issuer expenses.

                         26.   On the Petition Date, approximately $2.1 million in face amount of PDNs

         were outstanding. As of the Petition Date, the net asset value of the Portfolio Underlying Assets

         was approximately 99.56% of face value.




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                            27.      OppFund. Peer Street Opportunity Investors II, LP is a Delaware limited

         partnership (“OppFund”). It is managed by its general partner, Peer Street Opportunity Fund

         GP, LLC, a Delaware limited liability company (the “General Partner”) and is administered by

         Crestbridge Fund Services US, LLC. The General Partner is wholly-owned by PSI, and receives

         a quarterly management fee.

                            28.      OppFund makes real estate-related investments in accordance with its

         investment strategy of providing attractive returns on invested capital while maintaining a

         materially reduced risk profile due to the secured nature of the investments. As of the Petition

         Date, OppFund’s sole investment is the OppFund Loan (described herein).

                            29.      Individual investors in OppFund receive limited partnership interests

         (the “Limited Partnership Interests”). OppFund used the proceeds of these investments to

         provide a revolving warehouse credit facility to PSFI to fund the purchase or origination of loans

         (collectively, the “OppFund Underlying Loans”).

                            30.      On the Petition Date, approximately $23.6 million in Limited Partnership

         Interests in OppFund had been sold. On the Petition Date, OppFund held (i) cash totaling $10.7

         million, (ii) security interests in OppFund Underlying Loans, and (iii) other related assets with a

         face value of $13.9 million, title to which was held by PSFI.

                            31.      Loan Sales. In addition to these four product offerings, in the past, Peer

         Street originated and sold mortgage loans to third party institutional and other purchasers. Since

         the end of 2021, this segment of its business has diminished substantially. In 2021, the Debtors

         collected net premiums from sales of servicing released mortgage loans of $97,000.3 In 2022,

         the Debtors’ net premiums from sales of servicing released mortgage loans were negative $4.4


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               Net premiums are equal to sales less losses.

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         million. In 2023, the Debtors’ net premiums on account of servicing released mortgage loans

         were negative $2 million.

                         32.    Loan Servicing. Through PSFI, the Debtors act as master servicer of the

         mortgage loans in their various product offerings and also loans sold, servicing-retained, to third

         parties under loan servicing agreements.        For these loans, the Company has retained a

         subservicer that collects and tracks payments from mortgage borrowers. The Company directly

         manages the servicing of non-performing loans including foreclosure and sale of collateral. The

         Company advances funds to preserve the value of non-performing loans and the collateral that

         secures them, recovering these advances from the ultimate revenues collected on the mortgages.

                         33.    REO Sales. In the ordinary course of business, the Debtors sell real estate

         owned (“REO”) properties, typically acquired through the foreclosure of the underlying

         mortgage loan. REO properties are typically sold through a real estate broker local to the

         location of the specific REO properties. In 2021, the Debtors sold approximately 38 REO

         properties and in 2022 they sold approximately 41. Thus far in 2023, the Debtors have sold

         approximately 25 REO properties. The Debtors will continue to sell their REO properties

         (including those acquired post-petition) in the ordinary course of business post-petition.

                         34.    Debtors’ Workforce. As of the Petition Date, the Debtors’ workforce

         consists of approximately 28 full-time, salaried employees and 1 contractor all of which are

         employed by PSI.

                         35.    Prepetition Revenue. For the twelve-month period that ended December

         31, 2022, the Debtors total revenue was approximately $37.4 million, down approximately

         23.2% from the year prior.




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                             36.      As of the Petition Date, PSI has approximately $4.4 million and PSFI has

         approximately $18.5 million in cash on hand.

             II.     DESCRIPTION OF THE DEBTORS’ CAPITAL STRUCTURE

                         A. Corporate Structure

                             37.      PSI is the parent company for all Peer Street entities which are organized

         under the laws of the State of Delaware.4 PSI employs all of the employees, performs payroll

         and accounting functions, capital raising, and general management. PSI owns the Debtors’

         intellectual property rights and owns and operates Peer Street’s technology, including the Peer

         Street Platform.

                             38.      PSI established PSFLLC in July 2014, to issue securities to retail and

         other investors on the Peer Street Platform. PSFLLC also owns a 100% equity interest in PSF

         REO LLC, which holds title to real estate that previously secured non-performing mortgage

         loans owned by PSFI, which were acquired through foreclosure or other exercise of PSFI’s rights

         in the relevant mortgages.

                             39.      PSI established PSFI in 2015. PSFI is a California licensed mortgage

         lender under the California Financing Law as well as a servicer. PSFI (i) purchases previously

         funded mortgage loans from third-party lenders pursuant to master loan sale agreements

         (“MLSAs”), (ii) table-funds mortgage loans for third-party lenders or brokers pursuant to master

         loan origination agreements (“MLOAs”), (iii) originates its own mortgage loans, (iv) sells

         mortgage loans to third-party institutional buyers pursuant to master loan purchase agreements,

         and (v) acts as master servicer for mortgage loans it to which it holds title and services certain

         loans it has sold to third-party institutional buyers pursuant to master loan servicing agreements

         with institutional loan purchasers. PSFI holds legal title to substantially all of the Debtors’
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                A chart summarizing the corporate structure is attached hereto as Exhibit A.
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         underlying mortgage loans, participations and other related assets (collectively, the “PSFI

         Mortgage Assets”).

                            40.   PSFI also owns 100% of the equity interests in Warehouse, Warehouse II,

         and Portfolio.

                            41.   Debtor PeerStreet Licensing, Inc. (“PSLI”) is wholly owned by PSI. PSLI

         was formed to manage technology licensing opportunities, but has yet to engage in any business

         activity.

                            42.   In December 2015, PSI established Peer Street Opportunity Fund GP,

         LLC, a wholly owned subsidiary of PSI (“PSOFGP”). On May 25, 2018, PSOFGP became the

         general partner of OppFund. OppFund was created to make approved investments in various

         real-estate and financial products, including primarily (1) loans or participation interests in such

         loans secured by real estate (the “Loans”), (2) mezzanine debt in warehouse lending facilities

         utilized by Peer Street, Inc. or its affiliates, and (3) subordinated loan positions held or sold by

         Peer Street, Inc. or its affiliates.

                         B. Prepetition Secured Debt

                            43.   The Magnetar Credit Agreement. PSI is party to a Credit Agreement

         dated October 12, 2021 (as may be amended, restated, supplemented, or otherwise modified

         from time to time prior to the Petition Date, the “Prepetition Credit Agreement”), by and

         among PSI, as borrower (the “Magnetar Borrower”), PSFI and PSLI, as guarantors (the

         “Magnetar Guarantors” and, together with the Magnetar Borrower, the “Magnetar

         Obligors”), on the one hand, and Magnetar Financial LLC (“Magnetar”), as the Paying Agent

         (the “Magnetar Agent”), and certain of Magnetar’s affiliates and managed funds party thereto,

         as lenders (the “Magnetar Lenders”), on the other. The Prepetition Credit Agreement provides


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         for convertible secured term loans in an aggregate principal amount not to exceed $30 million

         (the “Magnetar Term Loans”). Including accrued PIK interest at a rate of 6%, as of the

         Petition Date, $27,239,167 was outstanding under the Prepetition Credit Agreement.          The

         Magnetar Term Loans are secured by a lien on substantially all of the Magnetar Obligors’ assets,

         including all cash held at PSI, but expressly excluding, among other things, any asset of an

         Obligor encumbered by a lien securing a permitted debt facility or otherwise pledged to third-

         party investors in accordance with the Obligor’s ordinary course of business (the “Magnetar

         Collateral”). Generally speaking, the Magnetar Collateral excludes the PSFI Mortgage Assets.

                         44.   The OppFund Loan. OppFund, as lender, and PSFI, as borrower and

         servicer, are parties to a Loan and Security Agreement dated October 1, 2019 (as may be

         amended, restated, supplemented, or otherwise modified from time to time prior to the Petition

         Date, the “OppFund Loan Agreement”). Under the OppFund Loan Agreement, the OppFund

         provides a revolving credit facility for the benefit of PSFI in an amount up to $25 million

         (the “OppFund Loan”). The OppFund Loan Agreement is secured by the loans acquired or

         originated by PSFI using the proceeds of the OppFund Loan. PSFI’s obligations under the

         OppFund Loan Agreement are guaranteed by PSI.

                         45.   As of the Petition Date, approximately $24.2 million is outstanding under

         the OppFund Loan Agreement.

                         46.   The Pocket Warehouse Loans. As of the Petition Date, $39.9 million is

         outstanding under the Pocket 1-Month Warehouse Loan Agreement.            The Pocket 1-Month

         Warehouse Loan Agreement is secured by substantially all the assets of Warehouse and

         guaranteed by PSFI. PSFI’s guarantee is secured by PSFI’s equity interests in Warehouse and

         the mortgages in which Warehouse purchased participation interests.


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                            47.   As of the Petition Date, $1.3 million is outstanding under the Pocket 3-

         Month Warehouse Loan Agreement.           The Pocket 3-Month Warehouse Loan Agreement is

         secured by substantially all the assets of Warehouse II and guaranteed by PSFI.              PSFI’s

         guarantee is secured by PSFI’s equity interests in Warehouse II and the mortgages in which

         Warehouse II purchased participation interests.

                         C. Prepetition Unsecured Debt

                            48.   PPP Loan. On May 2, 2020, PSI received a loan (the “PPP Loan”) from

         a private lender as part of the U.S. Small Business Administration’s (the “SBA”) Paycheck

         Protection Program (the “PPP”).        As of the Petition Date, approximately $3.7 million is

         outstanding under the PPP Loan, which is accruing interest at an annual rate of 1%. PSI used the

         proceeds of the PPP Loan for the purposes contemplated by the PPP and the Coronavirus Aid,

         Relief, and Economic Security Act. Thereafter, PSI applied for forgiveness of the balance of the

         PPP Loan. The SBA, however, denied this application. PSI first unsuccessfully appealed, and

         has since moved for reconsideration of the SBA determination. On June 8, 2023, the SBA

         Office of Hearings and Appeals issued an initial decision denying the motion for reconsideration.

         The initial decision will become final 30 days after service. Until then, no payments are due on

         the loan.

                            49.   B Pieces. In a number of instances, when PSFI acquired mortgage loans

         from third party originators, the third party originator retained a subordinated percentage interest

         in the loan, called a “B Piece,” payable only after PSFI has received full payment of its interest

         The aggregate face amount of these B Pieces is approximately $2.2 million. Whether individual

         B Pieces have value, however, depends on, among other things, the extent to which the market




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         value of or remaining payments under the applicable loan exceed the amount of PSFI’s interest

         in the loan.

         III.        EVENTS LEADING TO THESE CHAPTER 11 CASES

               A. Macroeconomic Issues

                         50.   Since the second quarter of 2021, the mortgage lending industry has faced

         adverse market conditions, including historical market-rate volatility.       Following years of

         historically low interest rates and inflation before the COVID-19 pandemic, the markets

         experienced sharp rate increases as part of the Federal Reserve’s effort to curb inflation and

         control price growth. Mortgage rates have increased from an average of 3.222% in January 2022

         to an average of over 6.5% today, which caused demand for mortgages to drop significantly. In

         addition, institutional buyers have largely halted purchases of below current market rate loans.

         Mortgage originations dropped significantly during the first quarter of 2022 from record highs in

         2021, and ended the year roughly 50% lower than they had been in the fourth quarter of 2021.

                         51.   These market conditions severely impacted Peer Street’s business. Before

         2022, Peer Street originated and sold a significant volume of whole mortgage loans to third party

         institutional purchasers, earning substantial premiums on these transactions. After 2021, the

         volume of these originations dropped precipitously.            In 2021, Peer Street originated

         approximately $695.8 million in mortgages. In 2022, originations fell to $385 million. In 2023,

         Peer Street has originated only $5.4 million in such mortgages. As described above, this decline

         has significantly reduced the revenues Peer Street received from this line of business.

                         52.   In addition, in 2022, one of Peer Street’s historic sources of funding –

         venture capital – declined markedly. As a result, Peer Street was not able to access material

         funding to mitigate the loss of revenue caused by market conditions.


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               B. Cost Saving and Restructuring Efforts

                         53.   Beginning in the Spring of 2022, the Debtors implemented a series of staff

         reductions. Through a series of furloughs and layoffs, in May, July, and October of 2022 and

         February of 2023, a staff that had totaled 281 at the beginning of May 2022 was reduced to

         approximately 28 as of the Petition Date.

                         54.   The Debtors also reviewed their vendors and other business relationships,

         aggressively seeking to renegotiate or cancel contracts to reflect the reductions in staff and

         reductions in operating requirements.

                         55.   In July 2022, the Debtors retained Kramer Levin Naftalis & Frankel

         (“Kramer Levin”) to assist it with potential restructuring options.

                         56.   In August 2022, Peer Street informed Magnetar of certain potential events

         of default (the “Events of Default”) under the Prepetition Credit Agreement, including alleged

         breaches of certain minimum tangible net worth and net operating loss covenants. On August

         17, 2022, Peer Street and Magnetar entered into that certain Waiver Letter Agreement (the

         “Waiver”) pursuant to which Magnetar agreed to waive the Events of Default through August

         24, 2022. The Waiver has since been extended 33 times.

                         57.   During the period of the Waiver, the Debtors and Magnetar engaged in

         good faith negotiations to address the Events of Default and evaluate an array of potential

         strategic alternatives in an effort to avoid the need to commence these Chapter 11 Cases,

         exchanging formal and informal proposals. Ultimately, however, these discussions did not

         produce a long-term solution to the Debtors’ business and financial issues.

                         58.   At the same time, Peer Street sought to attract additional capital from

         third-party investors to, among other things, continue servicing advances with respect to loans it


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         holds.5 Despite identifying multiple potential sources of capital, as of the Petition Date, the

         Debtors have not received proposals for new financing sufficient to avoid these Chapter 11

         Cases.

                            59.      In March 2023, Peer Street retained Young Conaway Stargatt & Taylor,

         LLP as co-restructuring counsel.

                            60.      In mid-April 2023, the Company engaged Province to provide a Chief

         Restructuring Officer and supporting advisory personnel. Province designated me as Chief

         Restructuring Officer.

                            61.      In late 2022 and 2023, certain members of the Debtors’ board of directors

         resigned. To replace them, during the first two quarters of 2023, the Debtors retained Ivona

         Smith of Drivetrain, LLC and M. Freddie Reiss, formerly a member of the restructuring practices

         at FTI Consulting and PricewaterhouseCoopers International Limited (PwC), to serve as

         independent directors. The Board also appointed an additional independent director, David

         Eaton, formerly a partner in the restructuring practice at Kirkland & Ellis LLP. The independent

         directors constitute a majority of the Debtors’ board.

               C. Objectives of the Chapter 11 Cases

                            62.      The Debtors commenced these Chapter 11 Cases to monetize their assets,

         preserve liquidity, and maximize value for all stakeholders.

                            63.      Before the Petition Date, the Debtors retained Piper Sandler Companies

         (“Piper Sandler”), a recognized broker, to sell the great majority of the PSFI Mortgage Assets.

         Around the Petition Date, Piper Sandler will launch a marketing process for these assets.

                            64.      Although the Debtors are not seeking first day relief relating to the sale of

         the PSFI Mortgage Assets, they have today filed a motion to establish procedures for the
         5
               As of the Petition Date, the Debtors estimate they have $12.8 million servicing advances outstanding.
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         postpetition marketing and sale of these assets, including the approval of bidding protections for

         the stalking horse bidders, as well as to approve the sale of those assets.

         IV.         FIRST DAY MOTIONS

                         65.    Concurrently with this Declaration, the Debtors have filed the First Day

         Motions seeking various forms of relief designed to ensure a smooth transition between the

         Debtor’s prepetition and postpetition business operations and minimize any disruptions to the

         Debtor’s operation.

               A. Administrative Motions

                         (a) Debtors’ Motion for an Order, Pursuant to Bankruptcy Rule 1015 and Local
                             Rule 1015-1, Authorizing the Joint Administration of the Debtors’ Chapter 11
                             Cases

                         (b) Debtors’ Application for the Retention and Appointment of Stretto, Inc. as
                             Claims and Noticing Agent

               B. Substantive Motions

                         (a) Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a)
                             and 366 of the Bankruptcy Code, (A) Prohibiting Utility Companies From
                             Altering, Refusing, or Discontinuing Utility Services, (B) Deeming Utility
                             Companies Adequately Assured of Future Payment, (C) Establishing
                             Procedures for Determining Additional Adequate Assurance of Payment, and
                             (D) Setting a Final Hearing Related Thereto

                         (b) Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a),
                             363, and 364 of the Bankruptcy Code, (A) Authorizing Payment of Prepetition
                             Obligations Incurred in the Ordinary Course of Business in Connection with
                             Insurance Programs, Including Payment of Policy Premiums and Broker
                             Fees, (B) Authorizing Banks to Honor and Process Check and Electronic
                             Transfer Requests Related Thereto, and (C) Scheduling a Final Hearing

                         (c) Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a),
                             363(b), 507(a)(8), 541, 1107(a), and 1108 of the Bankruptcy Code,
                             (A) Authorizing the Debtors to Pay Certain Prepetition Taxes and Fees and
                             Related Obligations, (B) Authorizing Banks to Honor and Process Check and
                             Electronic Transfer Requests Related Thereto, and (C) Scheduling a Final
                             Hearing


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                         (d) Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
                             Debtors to Pay Certain Prepetition Wages, Salaries, and Other
                             Compensation, (II) Authorizing Continuation of Employee Benefit Programs,
                             (III) Authorizing Banks to Honor and Process Checks and Transfers Related
                             to Such Employee Obligations, and (IV) Granting Related Relief

                         (e) Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a),
                             345, 363, 503(b), 1107(a) and 1108 of the Bankruptcy Code, Bankruptcy Rule
                             2015, and Local Rule 2015-2, (A) Authorizing and Approving Continued Use
                             of Cash Management System, (B) Authorizing Use of Prepetition Bank
                             Accounts and Business Forms, (C) Authorizing Continued Performance of
                             Intercompany Transactions in the Ordinary Course of Business and Granting
                             Administrative Expense Status for Postpetition Intercompany Claims,
                             (D) Waiving the Requirements of Section 345(b) on an Interim Basis, and
                             (E) Granting Certain Related Relief

                         (f) Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing the
                             Debtors’ Use of Cash Collateral; (B) Granting Adequate Protection to the
                             Prepetition Secured Parties; (C) Scheduling a Final Hearing, and
                             (D) Granting Related Relief (the “Cash Collateral Motion”)

                         (g) Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing the
                             Debtors to Pay Certain Prepetition Claims of Critical Vendors;
                             (B) Authorizing Banks to Honor and Process Check and Electronic Transfer
                             Requests Related Thereto; and (C) Granting Related Relief

                         66.    The Debtors have narrowly tailored the relief requested in the First Day

         Motions to: (i) continuing their business operations during these Chapter 11 Cases with minimal

         disruptions, (ii) maintaining the confidence and support of their vendor, customer, employee, and

         other key constituencies, and (iii) establishing the framework for an efficient administration of

         these Chapter 11 Cases.

                         67.    I have reviewed each of the First Day Motions, and I believe that the relief

         requested in the First Day Motions is necessary to enable the Debtor to operate with minimal

         disruption during the pendency of the Chapter 11 Cases and approval of the relief sought therein

         will be critical to the Debtor’s efforts to restructure and reorganize its business in a manner that

         preserves and maximizes value for all stakeholders.



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                         68.    It is further my belief that, with respect to First Day Motions that request

         the authority to pay specific prepetition claims or continue prepetition programs, the relief

         requested is essential to the maintenance of the Debtors’ operations and is necessary to avoid

         immediate and irreparable harm to the Debtors’ estates and creditors.

                         69.    Through the Cash Collateral Motion, certain of the Debtors intend to

         request entry of interim and final orders, authorizing those Debtors’ use of cash collateral and

         granting adequate protection to the Magnetar Lenders. Importantly, the Debtors have obtained

         the consent of the Magnetar Lenders to use cash collateral subject to the terms set forth in the

         Cash Collateral Motion.

                         70.     The Debtors require immediate access to liquidity to ensure they are able

         to continue operating their businesses during these Chapter 11 Cases, preserve the value of the

         estates for the benefit of all parties in interest, and administer a value-maximizing sale process.

         However, without prompt access to cash collateral, the Debtors would be unable to, inter alia,

         satisfy ordinary course of business obligations, preserve and maximize the value of their estates,

         and fund the administration of these Chapter 11 Cases, which would cause immediate and

         irreparable harm to the value of the Debtors’ estates, to the detriment of all stakeholders.

                         71.    I have worked closely with the Debtors’ management and professional

         advisors to ensure that the use of cash collateral includes those amounts that will be necessary to

         preserve and maximize the value of the Debtors’ estates. The Cash Collateral Motion only seeks

         authority to expend amounts in the budget during the period prior to a final hearing on the

         motion that will avoid any immediate and irreparable harm to the Debtors and their businesses

         from a failure to have access to the necessary services used to operate the businesses.




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                         72.    Accordingly, I respectfully request that all of the relief requested in the

         Cash Collateral Motion and other First Day Motions, and such other and further relief as may be

         just and proper, be granted.

                         73.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to

         the best of knowledge and after reasonable inquiry, the foregoing is true and correct.

         Dated: June 26, 2023                   /s/ David Dunn
                                                David M. Dunn




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                                                 EXHIBIT A

                                             Organizational Chart




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Legend
    Debtor entity


                                                                Peer Street Inc.
                                                                     (PSI)




               Peer Street
                                              Peer Street                            PS Funding,                           Peer Street
               Opportunity
                                             Funding, LLC                                Inc.                            Licensing, Inc.
              Fund, GP, LLC
                                               (PSFLLC)                                 (PSFI)                               (PSLI)
                (PSOFGP)

               Peer Street
              Opportunity
             Investors II, LP
               (OppFund)


                                                                            PS Warehouse,          PS Warehouse     PS Portfolio –
                                                                                 LLC                   II, LLC         ST1 LLC             PS Options LLC
                                                                             (Warehouse)           (Warehouse II)    (Portfolio)




 PSF OHIO              PSF REO    PSF TX 1           PSF TX 2             PSF TX 3           PSF TX 4
